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IN THE UNITED STATES DISTRICT COURT 05 JUL ll. PH m 09
FoR THE WESTERN DISTRICT oF TENNES SEE

n'|OM/-"S M GUULD
WESTERN DIVISION ml Ul§~ DWI m

 

UNITED STATES OF AMERICA,

Plaintiff, Case No.: 05-20029 D
v.
ANTHONY WILLIS,

Defendant.

 

ORDER

 

Before the court is the motion of Defendant to Amend Conditions of Pretrial Release to
A}low Weekend Travel.
The Court hereby:
lGrants
_ Denies

Defendant’s Motion to Amend Conditions of Pretrial Release to Allow Weekend Travel.
IT ls so oRDERED this 13“" day o§%,é\_, 2005.

BE CE BO DONALD
UNITED STATES DISTR_ICT IUDGE

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Honorable Bernice Donald
US DISTRICT COURT

